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              UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF FLORIDA
                    ORLANDO DIVISION
 BARRETO-BAERGA,

         Plaintiffs,

 v.                                                      Case No. 6:25-CV-98-PGB-LHP

 OSCEOLA COUNTY ET AL.,,

       Defendants.
 ___________________________

                           Uniform Case Management Report

        The goal of this case management report is to “secure the just, speedy, and
 inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
 3.02(a)(2), this case management report should be used in all civil cases except those
 described in Local Rule 3.02(d). Individual judges may have additional case
 management preferences that can be found under each judge’s name on the Court’s
 website, flmd.uscourts.gov/judges/all.

1. Date and Attendees

      The parties may conduct the planning conference “in person, by telephone, or by
      comparable means[.]” See Local Rule 3.02(a)(1).

      The parties conducted the planning conference on 2/24/25 and on 3/4/2025.
      Stephen Weil (for Plaintiff), Tom Poulton and Brian Moes (for Osceola County
      Sheriff Lopez and DeJesus and Maclean) Summer M. Barranco (Crawford) and
      Bruce Bogan (Koffinas and Dominguez) attended the conferences.

2. Deadlines and Dates

      The parties request these deadlines and dates:

      Action or Event                                                          Date

      Deadline for providing mandatory initial disclosures. See Fed. R. Civ.
                                                                               4/14/2025
      P. 26(a)(1).
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     Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                            7/24/2025
     or amend the pleadings, see Fed. R. Civ. P. 15(a).

     Deadline for serving expert disclosures under Rule 26(a)(2),
     including any report required by Rule 26(a)(2)(B).
                                                                                Plaintiff   2/2/2026
                                                                              Defendant     3/16/2026
                                                                               Rebuttal     4/17/2026
     Deadline for completing discovery and filing any motion to compel
     discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).
     Plaintiff seeks a deadline of 1/16/26 for the completion of fact
     discovery, and a deadline of 5/22/26 for the completion of expert
     discovery.                                                                              See note

     Defendants seek a single deadline of 5/22/26 for the completion of all
     discovery.
     The parties discuss their respective positions in Section 9(c), below.

     Deadline for moving for class certification, if applicable. See Fed. R.                   n/a
     Civ. P. 23(c).

     Deadline for filing any dispositive and Daubert motion. See Fed. R. Civ.
                                                                                            6/1/2026
     P. 56. (Must be at least five months before requested trial date.)

     Deadline for participating in mediation. See Local Rules, ch. 4.
     Greg Miles                                                                             6/8/2026
     200 E. Robinson St, Suite 700
     407-649-9495
     Date of the final pretrial meeting. See Local Rule 3.06(a).                            10/1/2026

     Deadline for filing the joint final pretrial statement, any motion in
     limine, proposed jury instructions, and verdict form. See Local Rule                   10/12/2026
     3.06(b). (Must be at least seven days before the final pretrial conference.)

     Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
                                                                                            10/19/2026
     Rule 3.06(b).

     Month and year of the trial term.                                                      11/1/2026


    The trial will last approximately enter number 7                   days and be

    ☒ jury.



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    ☐ non-jury.

 3. Description of the Action

    PLAINTIFF ALLEGES THAT ON FEBRUARY 27, 2022, SHERIFF DEPUTIES TASED HIM
    WHILE HE WAS SURROUNDED BY GASOLINE, CAUSING HIM TO BE BURNED
    SEVERELY. HE ALLEGES THAT THIS EXCESSIVE FORCE WAS THE RESULT OF
    POLICIES OF THE OSCEOLA COUNTY SHERIFF. HE SUES THE DEFENDANTS UNDER
    42 U.S.C. § 1983 AND STATE LAW. DEFENDANTS DENY ALL CLAIMS AND RAISE
    VARIOUS AFFIRMATIVE DEFENSES, INCLUDING, BUT NOT LIMITED TO,
    QUALIFIED IMMUNITY AND IMMUNITY UNDER S. 768.28(9)(A), FLA. STAT.

 4. Disclosure Statement

    ☒ Each party has filed a disclosure statement using the required form.

 5. Related Action

    ☒ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
    notify the judge of a related action pending in the Middle District or elsewhere by
    filing a “Notice of a Related Action.” No notice need be filed if there are no related
    actions as defined by the rule.

 6. Consent to a Magistrate Judge

    “A United States magistrate judge in the Middle District can exercise the maximum
    authority and perform any duty permitted by the Constitution and other laws of the United
    States.” Local Rule 1.02(a). With the parties’ consent, a district judge can refer any civil
    matter to a magistrate judge for any or all proceedings, including a non-jury or jury trial.
    28 U.S.C. § 636(c).

    The Court asks the parties and counsel to consider the benefits to the parties and the Court
    of consenting to proceed before a magistrate judge. Consent can provide the parties
    certainty and flexibility in scheduling. Consent is voluntary, and a party for any reason
    can decide not to consent and continue before the district judge without adverse
    consequences. See Fed. R. Civ. P. 73(b)(2).

    ☐ The parties do consent and file with this case management report a completed
    Form AO 85 “Notice, Consent, and Reference of a Civil Action to a Magistrate
    Judge,” which is available on the Court’s website under “Forms.”
    ☒ The parties do not consent.




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 7. Preliminary Pretrial Conference

    ☐ The parties do not request a preliminary pretrial conference before the Court
    enters a scheduling order.
    ☒ The parties do request a preliminary pretrial conference, and the parties want to
    discuss their disagreement regarding deadlines for fact and expert discovery, which
    is summarized in Section 9(c) below.

 8. Discovery Practice

    The parties should read the Middle District Discovery Handbook, available on the Court’s
    website at flmd.uscourts.gov/civil-discovery-handbook, to understand discovery practice
    in this District.

    ☒ The parties confirm they will comply with their duty to confer with the opposing
    party in a good faith effort to resolve any discovery dispute before filing a motion.
    See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.

 9. Discovery Plan

    The parties submit the following discovery plan under Rule 26(f)(2):

    A.   The parties agree to the timing, form, or requirement for disclosures under
         Rule 26(a):

          ☒ Yes.
          ☐ No; instead, the parties agree to these changes: enter changes.

    B.   Discovery may be needed on these subjects:
         Facts of the incident
         Injuries to Plaintiff
         Policy and custom issues under Monell v. New York Dep’t of Soc. Svs.

    C.   Discovery should be conducted in phases:

          ☒ No. (Defendants’ position)
          ☒ Yes (Plaintiff’s position);

           Plaintiff’s position: Completing fact discovery before expert reports are due
           ensures that the experts are offering opinions on an established factual record,
           and it prevents sandbagging (a party developing a factual record after seeing the
           other side’s expert opinions). A fact discovery period closing in January 2026



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           provides ample time for both parties to complete fact discovery in this case,
           such that there should be no need to take any discovery after expert opinions
           are disclosed. Defendants’ position: Plaintiff’s request to stagger discovery
           presumes a default to “sandbagging “and needlessly constrains discovery of
           factual subject matter that could be revealed through expert opinion to have
           probative value. Plaintiff’s concerns are adequately addressed by local rules and
           the rules of civil procedure.

     D. Are there issues about disclosure, discovery, or preservation of
        electronically stored information?

          ☒ No.
          ☐ Yes; describe the issue(s).

     E.   ☒ The parties have considered privilege and work-product issues,
          including whether to ask the Court to include any agreement in an order
          under Federal Rule of Evidence 502(d).

     F.   The parties stipulate to changes to the limitations on discovery imposed
          under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
          limitations:

          ☒ No.
          ☐ Yes; describe the stipulation.

 10. Request for Special Handling

     ☒ The parties do not request special handling.
     ☐ The parties request special handling. Specifically, describe requested special
     handling.
     ☐ Enter party’s name unilaterally requests special handling. Specifically, describe
     requested special handling.

 11. Certification of familiarity with the Local Rules

     ☒ The parties certify that they have read and are familiar with the Court’s Local
     Rules.

 12. Signatures




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